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AO 399 (0]/09) Waiver of the Service ofSummons

 

4 UNITED STATES DISTRICT CoURT
for the
Eastern District of Pennsylvania

St. Luke's Health Network, et al.

 

P[aintiff
v.
Lancaster General Hospita|, et al.

Civil Action No. 18-cv-02157-JLS

 

Defendan!

WAIVER OF THE SERVICE OF SUMMONS

To: Doug|as J. McGi||, Esq.
(Na)ne of the plainlij"'s attorney or unrepresented plaintifp

 

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

l, or the entity 1 represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity l represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

l also understand that I, or the entity I represent, must tile and serve an answer or a motion under Rule 12 within
60 days from Ju"e 4’ 2018 , the date when this request was sent (or 90 days if it was sent outside the
United States). If l fail to do so, a defaultjudgment will be entered ams e or the e epresent.

 

 

Date: (0[ él low x t

Sign%lre of the attorney or unrepresented party

Defendants Lancaster Genera| Hospita|; Jeffrey P' Lewis’ Esq‘

 

 

 

P)‘l`nted name of party waiving service of summons P)'inted name
Lancaster General Health; University of Pennsylvania Health Ecke" Seamans Cherln & Mell°tt, LLC
System; Trustees of the University of Pennsylvania; 2 Lib€l’ty PlaC€, 50 SOuth 16th Street, 22nd Fl,
John Doe l; and John Doe 2 Philadelphia, PA 19102
Address

jlewis@eckertseamans.com

 

E-mail address

215-851-6629

 

Telephone number

 

Duty to Avoid Unneccssary Expcnses of Scrving a Summons

Rule 4 of the Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

lf the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

If you waive service, then you must, within the time specified on the Waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.

